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Addendun, A
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Jou saop ssuodsal §,OO5 :poylupe powescq SOOZ ‘OZ Jeqwuacaq] punom 10 ug ‘payndsiq [9SUNOd ‘SOOT “OZ Jsquiszeq] UG “yIONM, FOU BL “EE
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S}9B] § JAG SaAouuoS Ajpeogioods Juaurayeys
5,OD5 Ur Supon, -poylupe paursaq (q)

“Aeseay SiO}

pauajal AUOUITSA AY] “9G apy Jo syuawanbes
ay) SUSE BIUVAPLAa SIqISsHApe WLM

SPOR] § JAG] SHaAGQUOS ATTROTTIZeds JDaUIA}E}s
S,0D§ Ul SuyLON :payiupe pause (#)

Sey POSH, “OOS Ui MIUHSSAMT Ss sey5 AEG
aayuerend JOU pip YosoayAy ‘pondsiq (q)

« PISIONS 91 ODS 10} aseyd ur are
S[eluaUrEpury ssOu) JO [Te SAal[eq am pue ‘sueyd
Ssauisng aAlsuayaiduios ‘pros pue Ayungioddo

JAE [eyuElsgns \uoWaseueW FuoNs yA
SWAT] POWSTIO-YMOIT UT ISIAUT 0} SYOO] sendea
reyg Aeg,, ‘Buyers se paonb sem queyplog

“AJAY JuSUNSOAUT oy] Jaye AfPoys ‘aoueysui Joy
‘JUSLUISSAUT SIY JO SUOSHDI 9Y} noge queTpyOH
“IA{ Aq opeul squswialeys snosuesodurayuco
syorpequos ose y (87 § S91 xg) ‘UMOp

ro dn jtaMm yOos 5, ODS Jewsy jou - wry

oy jueOduH sem ATTIHEIOA WI0IS $.O9S ‘apen
BSE FUT APUG “YA 0} apeU oy sywaurazeys
sndsuEiodwiaes Aq peinjal Ayoomp mese

si ywrod sii uo AuowTs3] 5, qiEyppon “wy (8)

JUsmcdopsasp aye10d109 JO uapissad Sd1A AONISS
$ ,JOSOIOTA[] UOSIOLE “IAL, :Sayeys qreypjony
“IW. “qre}PloH “1A 0} pastusoud pey 7 se ODS
Wi JUSUISSATT S,JRIS ARR seyMEFENs JOU pys

j yeuy paysaFdns yonpucs s .Yoso1oyp] (q)

C1 ‘ot bh

PL), a0e]djaxTew! Sy Ul a]qeLA azam slonpold
XINN Sit Jamar pure ayer wimg Yyseo YSIY S,ODS
yhoge patisouos Aisa osTe sem [°° pauypsap
soLid Y9075 $,O0S,, SEIS QIEIPTOD “Ip

‘SUI[IOP UT 3q 0} pareadde je syonpod

XINM1 SH JO A[GEtA ay) pue aouuOysed
[eloueuy ‘2oud 49075 5,005 ‘OOS ui jusuNseauI
ou] apeu weigAeg saye Apoys (e)

“WaT ULM op
Oo} SUIyIOU Zuiaey suoseas AQ pesnes sem ODS
Ul JUAUNSAAUI 5] Wesper 0} WOTsIOSp 5 eS ANd

Sr

qa.avdad
‘95 omy

Jo syuawaumbal ay) Sulaaw souaplas apqissiwupe
YIM SOB SIG] SUaAoquOS AyTeoIpIOsds
yuawayeys 5,008 Ul SUMMON :paynupe paweac

‘pandsiq

“SPBEA A PIO} QeyploH “Al

SE ‘quepjoH Ale’] Sulnssoid gy Aq pasnes
dam ‘ODS Wog JWAWISSAUT st SuLWerpyyLM

pus ‘OOS Isulese uoEsn] Sulusyeanp Surpnpout
‘suogjoe sseisdeg “HIGHS g¢-o¢ sydesdered

Je [Te]op Siow ui YO] yes sy “payndsiq

Corb

PD WG] JO aanequesaidas Aue 10 ;IG] Yim op
0] Jaaa0syEy A SUTOU pay ODS UI UOUSsAUT 57]
Bil}O) pue OOS Ul Sareys sy Woapal o} UOTsTOAp

8 feigdeg,, :S37e1s ONY quepjoy “WW (q)

Ce hb BT Wal JO PApuos Jo
qs suoYPolEnUMUOS Aue UIA Op 0} TaAaOSTEYM
Burpou pey ODS WIM drysuonepss sy oyeuTUE}

01 UOISIOED $s JeIGARG “suosesl apdiynUL 10}
OOS Wim drysuoneypss sy payeumuys} JeygAeg,,
‘SOIEIS QIEIP[OD “IA § TeIGAeg (e)

Wal Aq uonesrumuios io uoqoe Aue Aq pasne>
40 POONPUT JOU 249m OOS Wim drysuoyeyas
SSOUISHG SII SONPAI JO SyEUILLD] Of LOISIOSp Sh

pue ODS Isurede vowed] Jo syeang srg deg

~~ es00dS9Y $,058

_ USMS:

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Se

"ABSIT S/QISSILUPEUT ale FOOT 4990190)
Ul qreypjon “zy Aq epeur syuowszeis padaype ayy

*‘Yosornpy JO uoquawt ou sayew (sep ydesemg
"TUSUNSAAUT 3] UT JUSWWSA]OAUI §,4JOSOISTIA]
SISSAIPDE a]IIVE ay] “9S BMY Jo syuauamnbas
dU] SUSaur SOUEPIAS ATQISsTUIpE IL

SPOR] S IAG] SHaAOMUOD ATjeatpioeds juawazeys
$,.095 Wi SUON :payttupe pauitsag (9)

‘kesJEaY St 0} pavayel AUOUITISI} OT,
‘Gg ayy JO swawoumbed op Fuse plos91 Jo
S]oe] JeLoyew ATIVAP! OF sprey JUDWATEYS §,. ODS

‘(SbZ
"¥q) Hed WLM suctesisauoo ueseq am Moy Jo

s1sauad ay) sem yet OS “Pey i UeLB yses aio
asm pynos yey) Auedwoa e mes oa ing “WMO
Yyses alos pue youd Sqq [Pl SuOs aes pinos
am siead oar} 0 Ovi] JOJ * + * ‘Sanss] UOTEBT JO
sso[piesay ‘WYSHOYy) 9A, “10] e dn suo# pey soud
YIays aly, “Brapyen [se woreurour] 0} yoeq
BuI0d pey OOS YM Jo AIOISTY ott paacy 9AK,,
QUPUTISIAU! ay} poureydxa queypjor

“JUSULISAAUT SY} UT JAASOSTEYM JUSUISAJOAUT

ou pey yosoustp] yey Aforqnd payeys

oy pue JUSUNSAAUT aly UT WWStWeA]OAUT Aue pey
YOsouayAl JI stsyodey Aq payse sem quezppon
“TAL ‘WOUSOAU! Bip FUMO]TO ‘payndsiq (9)

GaLuyusy

(9%E xq) “Tasteg
Aq (WaUTSSAUT ay) U1 yUSTHSAOAUI Ate paiuap

O} [sap SU] fo suey Si payenosdau j “JUSUNSaAUI

aU} FO Ino Jas oO] puny ayy paumbor sioysaaut

SY 0} sUOHeTT[go 5, seIgARg pauTUNo}ep [ “ODS

Woy asuodsay AIOPEISES OU PSAlSIal BULARY,,
‘SOyeys JoyINy QIeIPPOD “A

GaLavGde

SO4O}S QIATP[OL) ‘IPA
‘ODS Ul WSUNSSAUT S}I aUT]2I 0) Paproap JeIgAeg
‘OOS Aq Possaippe Ajoyenbope you asam ssoursng
$005 Ihoqe susadu0s s Jeg Ard USA, (3)

Corb

"PD .CHOSOJSIJA] WO pasty se uosIaUTy “Al
‘a8pajmouy Aur JO 359q oy] 07 pure “spreus

pus sjjes suoyd Au Surumyos paddoys yosousry,,
USUYSSAUT al spel JEWS ARG Joye qeu soze7s
QPL “IA CL & PD «OOS Ul jauNsoaul

$ Jeg deg sajuesens Aem aulos uy prnom

11 Je) stu polnsse YOsoIoTAl ** * “yWeUNSaAU!

s Jeigdeg ‘Aem aos U1 saquezend 10 ,‘daysyoeq,
Piitom YososoA] Uiasaym samponys JuWaUysoAut
jo Aaa 8 possnosip | pue [Adayeqs pue

Aiday 5. Wal

asuodsay 8.0986 |

swe S 8, Wal

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x

‘satuvdwos aso Fuseuo5

Ajposayye wus ‘sj Jo esnesaq panss0 siy}
yeu] LTE]D 0} }dWIa_e UdAa LOU Op pute ‘pormeso
UOHEITUMULUOS pesarye su} aJojad SIead “1907
Ul O38 jo Yoddns s3y) peonpal soruedwios asayy
JEU} MOUS “159g Te ‘SUOITRIEpIap esau) ‘pesysuy
"€00¢ Arenuer Joye .OOS soy voddns nay
Peonpal YLNY,, JajU] pue ‘apsBIEO ‘saelsossy
landed Jey uonsedoid ayy yoddns you

Op suoHese}oap UBArINg pe saysnpy yy ‘AyeuTY
"ydeitered sin jo sasodmd ayy 10] yueadaut
OS]@ ST WOIYM ‘preyoeg HaTMe} JO Jaysaq “ITA
PUE IPS 'S}A] Usamjon vOHESIZAUOD # O7 SyuTOd
osye OOS ‘39e1C 10 jayuy ‘sayeioossy Jandwog
Wo. saseyussoiday Aue pla salqeyuasaidal gy]
Joyjo Aue 10 Ipilug “S| UsdMyaq UORBSTUMUNWIO>
Aue Ysijquisa Jou saop pus ‘apa eq pue
YU “sy Us2MYaq UOFESIOAUOD B 0] sUTBLIEd
OOS Aq paulo souapiaa ay Jo ING ay, “9g ay
jo sjusteInbas ay) Bujsat aoUSpIAS S|qIssTuIpe
YUM SISB] SAAT suoacu0s Ayjeayrtoads
WUBWIICIS $. OFS Ul BUYON :payrupe poussg

aaLovasy

‘eidns 47-97 sydeidesed
U1 [Leap Alou ul YHO} Jas sy “poindstp ospe
ase (p} pue “(9) *(q) ‘(e) syedqns pue ‘payndsiq

(o-Z lob ZL XA)

"WAG JO soarequssaida

Aue Jo JAG] Aq suloroe 10 siustuayays Aue

jo osrresaq ODS Gum diysuonelal sy posaye Aem
Aug Ul 30U SEY Yo ‘o8popwouy AW Jo ysaq ay} OF,

‘OOS WIM ssaursng Bulop dos 07 WO

Psyse 10 OOS ym drysuopelas sp ayeururiay 0}
POPlISP pey ING WY YO pewuoy ‘Ayosspur 30
A}Oep ISAS SAHUasaidas JA] 1940 Aue sou

TPIS ‘sy Jaypau ‘aspoymouy Au Jo ysaq ay) OL

‘OOS WI ssouisng Sulop doys 0] Wo

pajuem Wa] 124) 10 (.0D8,,) au] ‘duoiy OOS
ILL WIM drysuoNeyes ssaursng sy Suyeuru|y
SEM JAG] 72U) OUT 0} BEOIUNTOD Saryeyaseiden
Wall 231p0 Aue Jo yg Uerey pip sty ou

TV "WONWOAUOS CONT POA XTUI’] oy) papuaye |

:saqzeis ‘dnosp ABopouyse | xNUT]

SojBIOOSSY JaINdwlo> Joy aJESOApPY pEoTUYIO |
O1FIIEDS pue WUSpisaig 214, JOUaS ‘HEPquseL
pNues ‘uoNEsE/Dep wOMS FL] {e)

‘OOS Ya

Sal} SSOUISNG Nay) JJO > 0} WII] pope WGI
JEU} IO OOS YIM Sart ssauisnq sil Jo Buns sem
ING! Fey] [370] Jo afoeIg ‘sayeloossy ssgnduos
0} payels Jaca aAneyuasoiday [Iq] Jauyo Ae

Jou (ssapusye £007 PHOMxNULT SJ] JO au0
pue Suauudojaaaq ye4Ie pue ABoyeng AUT] Jo

_Aldsy SING

asuodsay $055

Wuapisalg GFA USUI SINE) YWIS uarey JayIION ‘OP
Crt h
"PL Jeg Ae Jo JJeyaq uo jwaUNssaul oIy aut

WsUwIS SIN

“OOS Gia ssauisng Sinop doys 67

Ta]U] paiem Wg] WU JO OS wm diysuoneyal
SSOLISN Sp SUSUTUTIE] sem JA EYE

aly 0} SJETUNUUUOS sAElssoidar Pla] Jay
Aue 10 qyig vary paled sugAue pip sully
OUdY “EO0Z ATENUES UI YO, Man “YO, Man
Ul UOHUSAUOD FONT PLOAL XNUI'] aly papusye |

1SaqE]S
‘dnoldy TUpSHIVPA PUE SaTVE Sql UL IeseUEy]
duysuoyepsy WseNS §,Joyu] “vELESINH
UuUBIY] ‘UCHRIe}Dap WIOMS BU] (3)

Cr-z bb lez XA)

‘Wal Jo seangequessidas Aue

JO JE AG SUOHNTe 10 spuaUIayEys Aue Jo asnes0q
ODS Tin diysucnejar syt poxoye Aew Aue

UI JOU sey aj2BI_Q ‘adpe;mouy Aur Jo 1s9q sy OL,

‘OOS YUM ssaursng Surop dos 0] ajay pexse
19 ODS Wim diysuonjelss sil SyEUIIIE] 0] paploep
ey ALI Fe apoeIQ psusoyut “ApoauTput 40
Apoourp ‘yaaa aatequesoidal ALG] Jeuyj0 Aue Jou
YUWS “sl Jays ‘aFpepmowy Au Jo yaq ay) OL,

"OOS WM ssauisng Suop doys ay apVIQ

paywem JAE Jet 40 (.008,,) ‘aul ‘dno OOS
AL Wim diysuoyea ssaursng sit Fuyeursy
SBM JA] 124) SU O} a]BoTUNLUMIOD aAyE\Ussaidal
Wa] Jayjo Ave Jo ygIWg ues y pIp out] ou

VY “WOMUAAUOS CQO? PHOM, XUN 903 papuaye |

Saks ‘AITO
Wedd XNUIT] §,3]9281C) JO Jazeuey,y pedisuug

‘Feu BITUOTY ‘UOleeE[VOP Toms B U] {q)

sues S NGI

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82

PSOUSNTTM alam SUOTIIE YONS LEY sye]s JOU Op yng
‘1002 Ul BurmuiZaq ODS wo yoddns maspyyim
a/981Q pug sayesossy JoiNdiuoc yeu ayeys

A[ Maw YSIy ‘suOTTeTE[ Jap VEAING pus soqsny
dU) douarayal [2 77-61 SYdeiBemg “9g any

jo sJusmannbas sy) BuUIIW aSuapias a[qissTUpe
UUM SOR] 8 JAG] SsA0nuos Aypeoy toads
WISWATEIS 5.OOS UI SUINON :PayTUpe poweag

S}f PalBUIUa] OOS ssojaq OOS fo voddns sy
pasvalsp sajeiaossy Jayndiuos “‘payindsiq (2)

"uounyos Arequaunyduios eB

se pajuesaid sXemye sea xnUT'] “Isyye2 Ssjonpold
XIN/) 208]daz 07 susued sy Joy Agoye.ys

$008 Jaa seas jI BIGNS 77-6] sydeFered

Ul [IBJap HOW Ul YpOy jas sy “pagndsiq

pease ‘siouped AFopourae) sj! YM sdyysuoneyas
$, OOF 10} ajqisuodsas aaAoqdus ODS
IgULIO B ‘UOSIapUYy AIOSAD $,.00$ (2)

"S13ST1 PUS ITSUZ O} SUCTIN|OS XNUIT SprAcid
bo] Sturdwos asauy so yses WIM Fuoured
*XAUI] 0) slonpoud poyU] pue s[IBIG ‘saTeldossy
ramndwo3 Jo uoyeigiu at) payioddns O55

‘OS

CF

b FL) “OOS WIM ssoursng op oj Jou saluedu0s
asa] pasnes yeu) SUIpAUE Op JOU PIP ays ‘ape
DOM STUSWSTEIS HONS IatYIYM Jo ssalpresar
‘vornppe uy Cg S07 Xd) OOS Yia ssoutsnq
Op jou setuedwios asaig yeu palsedadns 10 ‘O9s
ina drysuoneya. ssaujsnq Sil 170 Sune sem
Wa] ey) wary pestape | YOY Ul “sauauazuOD
£007 PHOAANHUT’] ay) Jaye JO Zunmp ‘apg

JO ‘sayersossy Jomnduro-) ‘psyU] Yas syorsuce Aue
SABY JOU PIP |, :SAB]S YUU ‘spy “UONETEIap
WIOMS BU] "FS]U] JO ap2eIK ‘sareloossy
andwio7 [BL SsuOHeSISAUOD YONS OU pry

SYS JETP SUMIFUCS SSIMONL YHWUS “SY (Pp)

(ez 4h FOZ *xa)

‘Ad Jo Seanequasesdar Aue

0 Wa] Aq suonoe 10 sjuawaje]s Aue Jo osnesaq
OOS wen drysuoneyer sy paroye Aem Ave

Uy JOU SEY [aU] ‘ASpaymouy AW Jo ys9q 9q] OL

‘ODS WIM ssaursng Suiop doys 0} pau] payse

10. ODS WIM drysuonejar su ayeurua) 0} papiosp
pey Wg] Jeyp [ave] patuoyur “AposIpu 10
A}ponp ‘1aA9 aanequeseidal jg] foyjo Aue Jou
Ywig “sjAl Jaysiou “aspaymouny Aut Jo 1s9q 3y) 0],

oe. asucdsay 8.008

JUSUAIEIS $ AGT -

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ayy ‘Ayeuoiippy ‘9S ary Jo syuswedinbay
SY} FUYSaw BDUAPIAT S|QISSTLUPE YUM

SOE] SAL SHaANuOD ATpeorpioads yuawayeys
S,.0D8 WI SuMpON :payiupe pausaq (9)

‘Wal

0} palejaz Jo Aq pasnes apseg wim sdiysuonejas
ssauisnd Ul adueys & Burpmedal uolasse

Aue yioddns 0) #unpou saya OOS “SO xXNUry

O} SQSES}S] MOU PSYlp|d sows sey 1 UI pur -

100Z U1 sem jonpord paseq-OQs & pesunouLE
I[IVIC SUI) SE] SY Jey] ApUO ayels ODS Aq
pats syderered ayy “9 apy JO sjuauiaimbas
Sy} Busou! SOUSPtAS STQISSTUP! YL

SJB} § JAG] SHAAOQUOS AyeotIoeds JusuIAzE}s
$.00§ Ul SUION -pontwupe poured (4)

‘aE papmouy [eucsied uo

apeur aq 0} Lodimd jou soop pue UOEpuNa) s39%y
Vy WUAUINTEIS § JAVA] §,M2A0.QUOD FHAUTD}eIS sTyt
Ji Woaa jnq ,,‘osuodsar JUSTeAIqUIE Lo SFqUIOAEy,,
B Ulm ued Bursuasy Areaqiy $095 payed
sayeloossy Jandwos yey savers (6 “x OOS)
doyesepsac] $,sejudg Jo p Ydeisesed “sayy
‘paulpsep sayeloossy Jomndwi07) wo anusAal
5,005 ‘#081 & se “pue cOOg SouTs PaUloop

PEY Slonpoid $.ODg JO VOSA  sayETDOssYy
Jaynduio yey] sayeys Ajasoue yi ayyer Sxnul] asn
0] ISUDOl] SH aTBUILUIAY OF paylodind Qos alajaq
yioddns paspaloap sayersossy Jaindwoz yey Aes
JOU S90P EOE "XY OOS “9S ayy JO sjuawauTnba,
dt) FuyaAaw Souapras aTqISsTUpE UL

SPORT § JAL SHOAOTUOS Aypeoloads yuawsyeqs
$.00$ UF SUINION, :payrUpe pausacq (2)

‘pres Jo pip Wal sunpyAue Aq

(ph 6 °Xa) ‘aneru ayy of AjsAreSoU joras you
PIP [avUl ‘[27UT OF Vey sommosQ]s sp payuasaid
Alea QDs usym Seayung (pz h 69E “xg)
XNUF] JO HOLNNGLYSIP sit peteutU3| ODS ai0jaq
QOS jo yoddns sy paseaoap faluy ‘pomdsic (5)

nur]

0} XIN() Wor poddns sy pauaysuey sacy

JOU pPTNOs apeIO ‘WAI Jo samnsoposip Jodowduy
ap 107 ng “sNY), (“Sp-Zp We CBZ “XA EO

“BS-95 18 182 "XA 'Sb-hh ‘TP “LE-TE IP 987 “xa)
“slonpold WINS 5,008 SB sasn autes ayy so]
WOTIUNZ 07 XNUTY Psyqeus UOT “syUsLUaAO udu
5. Aq Ajqissod apew sem sjonpoud yINQ
3,008 Jo Hawaorjdas $,xnUTy Jeu) UOIsHaTuOS
aly paysea syiedxa s.908 ‘Aleurg (pb 6 xa)
“QANRIIUT ayy OF AJOAITESIU JOeAI JOU PIP apelO
‘aJDBIQ Oo} UETd adINOsQ DS Ss}! pawwasaid Aqeniut
ODS vaya “oy (PT) “xt JO peaysur xnury
voddns 03 paproap prey apeig WYRE Adoyeys sy
uo paxlequea dquo OOS (PT) “ssautsng ape¢G
Alp [Te 980] JOU PnoM ODS 1eys os Alyeuosiag
PWSy MMU] ty UO sjonpord sp Aras

0] ape1Q pesesnosue QOS *XnuI"y aseiquis 0}
UOISIDap SHI PayeIHUMUIWOS afeIQ JW (ZT
69¢ '%a) ‘sinpoid KINA] $098 405 toddns yno
paseyd sey a[seig ‘sread yuodal Ul ‘pamdsiqy (q)

(th6 Xd) ‘sagen

gyi OF AJIATIEFAY 19¥91 JOU pIp Sayetoossy
Jandujog ‘sayersoss y Jaindwe> oy werd
soMOsSODS si payuasaid Aypeniin OS vay
Zann CZ b 69¢ Xa) “xNUIT Jo vORNysIp

CECLLEZPI 28 SOE XA) *,,08 auour sjonposd
xn] pue waysAs Sureiedo xnury] & SNqUIsIp 4
Suisess,, Aypadaype OOS 01 apquingiye si 7 ‘jayay

pue OOS Uasayeq diysuone]as a1 ul oFuEYS
@ SEAL O13Y} IBY} 1WATKe OY} OY,

(9)

GaLavdab

CmLUVGHE = @

(61-9:6r1

Soe Xg} *,stonpoid xnury aynqiysip 0} anunuos
0} :0u UoIs}Sap [pasalfe] 5,008 yl op oy

pel" - sayelsossy sayndwoy pure Bap OOS
usamiag diysuonesi ay ut adueyo Aue,, yey}

Alday 8s. AST:

aslodsay s.0O8-

TUSUATS SING]

wa

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of

‘BIONS “Gp |, 395 ‘Aesreay aqissupeu AuO Aq
payoddns st pssuazaja ydesSesed ayy “og Siny
JO syustauInbay ay] SuNsaul SauaplAs ajqrssTupe
Ula. SIO} Sq] SHOAOQUOS ATTRayOads
qUataIe]s §.005 ul Surnpox :poyiupe peweegq

‘6p Udeudered
UL SACGE UBIO} 195 SUCSEST sty 107 pomndsiq

C9 “p bh soz “xq 385) “wey

ODS pesnes yerp sdays Aue ¥OO] JsAau YW ‘SY
‘gsoppsesoy “oures ayy Op Oo} preyorg-n9yMeH
payuea LAT Jetp Pue ODS YIM sary ssaursng

[2 40 m5 oO] Zul0F sem jATG] Jey oye “A

O} PalEIs SYS aAaiqaq 7OU Sop pue Suyers [Tees
JOU S30p Ing ‘UONWSAUOS C007 pO AA XN]

OU) JE preyoeg-HepmeH JO Joyoog yore Yi
HONESIBAUOS JoLg B s[pesal JAG] JO YWS Uae yY

‘Is

“Spa Mou

feuossad uo spew aq of Wodnd jou saop pue

UOIEPUNGS SYIL] | “WswWadEIS $ JAG] §,UeAonUuos
JUSWU9}2}S STUY JT DAS ING

ren Saqeys (4 "Xd Garay

8, 8aU05 Jo p ydeiBered ‘ancq0Ky

q3L0Vaad

“WOTTEIE[IOC] §,UBAUTNG youer
“69€ XE ODS JO pz YdeiBered uy “juautayeys
ay) Hoddns jou op QDs Aq pays sydeitered

_. SsHbdsay SONS

we A eeurpreas 8 NT |

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l€

“UOTESIZAUOD poTa]fe SU] Jo T[Nsad E SB ENOZ
Arenuer Ul pasueg? Vi yeyy JOU “Suny sac poueyo
Sey PIBYOe” HAMIL yun drysuoyeyes $,.0O8
JY} SOU! ye ‘sayslqeiss aouaplas yey “1OxIIg
“3A PUR UTS “SA WooAeg UOTESISATDS paBaye
ay? 0} asuodsay ut Suny Aue pip pueyseg napMay
WEY} YSt]GeIs9 JOU Sa0p ODS Aq pats aouaplas

St) ISAOaOJAL PETER OMY ES ¥

- Tall onl flo: ef WF tad ull

paiftisey ay pue ‘uoesiaAuos
pasaiype al} Jo yusal & se Yoo) ay suoTze
Tey jhoge Ap1saq ued JayIeg “Ay A[UQ ‘9S apy
jo swrowaimbeal ayy Suaau souapiaa afqisshupe
YAS S]92y S FAG] SzaAog]UOs Aqreoioads
uauareys 008 Ul SULPON :paytupe pawissc

‘paindsiq

GuL9vd34

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S} parayye JO paonpas savy ABW gE JUSIXS ayy oO],

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Syd ISOUL UOYAS “SQ36 [-PIWI aif) 2auIs ABOjoUyDa}
agpe Supeal Wi szauyed useq Wey gH Pue OOS

noz dja oe’y dnory oDs
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Sy Jo Jostods wnunerg,, Ajo 94) Se preyoeg

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2 Ul pajooyjau st diyssoued GH/OOS 24.

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‘JORIS O} SaInjEay aS9) BUI 0} ISA ayy se
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sv —- yeads pip spligsyy “Ip Jf sousdazuc. ayy

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“Bids ‘65 |, ut paurejdxs sy :paynupy pewead

"6S Ul payeis suoseas ay) 105 paindsiq

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0} [[BAON WO 1342] @ UO JostNOS jelauad s WGI
JO Surddos wogses ayy ‘asimayI] “Way aul

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Yuey poos ay) ur “xnur’] OF suonngiyuos spew
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IBM’s Reply

‘| SCO’s Response _

IBM's Statement

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